Case 3:10-cv-00123-MJR-SCW Document 11 Filed 05/11/10 Page 1 of 21 Page ID #49




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

 AMMAR MAHDI,                                )
                                             )
                       Plaintiff,            )
                                             )
        v.                                   )              No.: 10 cv 123 - MJR
                                             )
 CHHABRA, JOGENDRA, M.D.;                    )
 MIKHAIL MAGDEL, M.D. and                    )
 WEXFORD HEALTH SOURCES, INC.,               )
                                             )
                       Defendants.           )

              DEFENDANT, DR. JOGENDRA CHHABRA, M.D.’S, ANSWER
             AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT

        NOW COMES the Defendant, DR. JOGENDRA CHHABRA, M.D., by and through his

 attorneys, SANCHEZ DANIELS & HOFFMAN, LLP, and for his Answer to Plaintiff’s

 Complaint, states as follows:

                                           COUNT I
                                      (Medical Negligence)

        1.      The Plaintiff, AMMAR MAHDI, is presently a resident of Chicago, Illinois,

 and formerly was a resident at Big Muddy River Correctional Center in Ina, Illinois under

 Reg. No. 61291.

 ANSWER:        Defendant states that he does not have sufficient information at the present time
                upon which to base a belief as the truth of the allegations contained in Paragraph
                1 of Count I of Plaintiff’s Complaint at Law and neither admits nor denies same,
                but demands strict proof thereof.


        2.      The Defendant, WEXFORD HEALTH SOURCES, INC., is a corporation

 engaged in the business of providing medical care services, including physicians, nurses and

 other services, and did contract with the Illinois Department of Corrections to provide

 medical care to inmates at Big Muddy River Correctional Center at all times material hereto.
Case 3:10-cv-00123-MJR-SCW Document 11 Filed 05/11/10 Page 2 of 21 Page ID #50




 ANSWER:       This Defendant admits the allegations contained in paragraph 2 of Count I of
               Plaintiff’s Complaint.


        3.     The Defendant, CHHABRA, JOGENDRA M.D. is, and at all material times

 was, a physician and surgeon duly licensed to practice his profession in the State of Illinois,

 and as an employee of WEXFORD HEALTH SOURCES, INC., was Medical Director and

 rendered services as a physician at Big Muddy River Correctional Center during the time

 alleged.

 ANSWER:       This Defendant admits the allegations contained in paragraph 3 of Count I of
               Plaintiff’s Complaint.


        4.     The Defendant, MIKHAIL MAGDEL, M.D, is, and at all material times was,

 a physician and surgeon duly licensed to practice his profession in the State of Illinois, and

 as an employee of WEXFORD HEALTH SOURCES, INC., rendered services as a

 physician at Big Muddy River Correctional Center.

 ANSWER:       This Defendant admits the allegations contained in paragraph 4 of Count I of
               Plaintiff’s Complaint.


        5.     On or about October 16, 2007 the Plaintiff arrived at Big Muddy River

 Correctional Center.

 ANSWER:       Defendant states that he does not have sufficient information at the present time
               upon which to base a belief as the truth of the allegations contained in Paragraph
               5 of Count I of Plaintiff’s Complaint at Law.


        6.     Prior to said date, the Plaintiff had developed an infection in the joint of his

 left elbow, on which surgery had previously been done.

 ANSWER:       Defendant states that he does not have sufficient information at the present time
               upon which to base a belief as the truth of the allegations contained in Paragraph
               6 of Count I of Plaintiff’s Complaint at Law and neither admits nor denies same,
               but demands strict proof thereof.


                                               2
Case 3:10-cv-00123-MJR-SCW Document 11 Filed 05/11/10 Page 3 of 21 Page ID #51




        7.     The infection caused Plaintiff severe burning pain, which had been present

 and worsening for approximately two months, and he requested to be seen at sick call.

 ANSWER:       Defendant states that he does not have sufficient information at the present time
               upon which to base a belief as the truth of the allegations contained in Paragraph
               7 of Count I of Plaintiff’s Complaint at Law and neither admits nor denies same,
               but demands strict proof thereof.


        8.     On December 14, 2007 the Plaintiff became a patient of and was seen by the

 Defendant, CHHABRA, JOGENDRA, M.D., in the scope of his employment for

 WEXFORD HEALTH SOURCES, INC., with a history of burning pain in the left elbow at

 the site of an injection while he was a Cook County Jail, and complaints of swelling and

 pain in the left elbow.

 ANSWER:       Defendant states that he does not have sufficient information at the present time
               upon which to base a belief as the truth of the allegations contained in Paragraph
               8 of Count I of Plaintiff’s Complaint at Law and neither admits nor denies same,
               but demands strict proof thereof.


        9.     The Defendant had the Plaintiff’s medical chart which included notes

 of burning pain in the left elbow in September, 2007, of the history of prior

 surgical repair of the left elbow.

 ANSWER:       Defendant states that he does not have sufficient information at the present time
               upon which to base a belief as the truth of the allegations contained in Paragraph
               9 of Count I of Plaintiff’s Complaint at Law and neither admits nor denies same,
               but demands strict proof thereof.


        10.    Burning pain and swelling are common signs of an infection.

 ANSWER:       Without further specified detail, this allegation is denied.




                                                 3
Case 3:10-cv-00123-MJR-SCW Document 11 Filed 05/11/10 Page 4 of 21 Page ID #52




        11.      On December 28, 2007 Plaintiff was seen by a nurse who noted sharp,

 burning pain in the left elbow and some sores on the left elbow.

 ANSWER:         Defendant states that he does not have sufficient information at the present time
                 upon which to base a belief as the truth of the allegations contained in Paragraph
                 11 of Count I of Plaintiff’s Complaint at Law and neither admits nor denies same,
                 but demands strict proof thereof.


        12.      Although the Plaintiff’s pain and swelling persisted, and he made requests to

 be seen by the doctor, the Defendant, CHHABRA JOGENDRA, M.D. did not see the

 Plaintiff.

 ANSWER:         This Defendant denies the allegations contained in paragraph 12 of Count I of
                 Plaintiff’s Complaint.


        13.      Plaintiff remained under the care of CHHABRA JOGENDRA, M.D. until

 March, 2008.

 ANSWER:         Defendant states that he does not have sufficient information at the present time
                 upon which to base a belief as the truth of the allegations contained in Paragraph
                 13 of Count I of Plaintiff’s Complaint at Law and neither admits nor denies same,
                 but demands strict proof thereof.


        14.      At all material times it was the duty of the Defendant, WEXFORD HEALTH

 SOURCES, INC., acting by their employee, CHHABRA JOGENDRA, M.D., to exercise

 the skill and care of a reasonably careful and competent physician in the care and treatment

 of Plaintiff.

 ANSWER:         Defendant denies that Paragraph 14 correctly sets forth the duty that Defendant
                 owes to Plaintiff and denies that Defendant violated any duty owed to Plaintiff
                 and further denies the remaining allegations contained in said Paragraph 14 of
                 Count I of Plaintiff’s Complaint at Law.




                                                 4
Case 3:10-cv-00123-MJR-SCW Document 11 Filed 05/11/10 Page 5 of 21 Page ID #53




        15.    Notwithstanding     said   duty,       the   Defendant,   WEXFORD   HEALTH

 SOURCES, INC., acting by their employee, CHHABRA JOGENDRA, M.D., did commit

 one or more of the following negligent acts and/or omissions:

               a.     Failed to refer Plaintiff to an orthopedic specialist or
                      emergency room for diagnosis and treatment of the
                      infection.

               b.     Failed to schedule any follow up visit to follow
                      Plaintiff’s condition;

               c      Failed to diagnose and treat the infection in Plaintiff’s
                      left elbow;

               d.     Failed to prescribe medication to treat the infection
                      and/or Plaintiff’s pain.

 ANSWER:       Defendant denies the allegations contained in paragraph 15 of Count I of
               Plaintiff’s Second Amended Complaint at Law, subparagraphs (a) through (d),
               inclusive, and each and every one of them.


        16.    As a direct and proximate result of the Defendants’ negligent acts and/or

 omissions, the Plaintiff’s infection continued for a prolonged period of time and worsened,

 resulting in serious injuries of a permanent nature.

 ANSWER:       This Defendant denies the allegations contained in paragraph 16 of Count I of
               Plaintiff’s Complaint.


        17.    As a direct and proximate result of the Defendants’ negligent acts and/or

 omissions, the Plaintiff was caused to and did suffer, and in the future will suffer, great

 pain in both body and mind; and was caused to suffer, and in the future will suffer, loss of

 a normal life and disability; and expended, and in the future will be compelled to expend,

 great sums of money endeavoring to be cured of his injuries.

 ANSWER:       This Defendant denies the allegations contained in paragraph 17 of Count I of
               Plaintiff’s Complaint and each and every one of them



                                                  5
Case 3:10-cv-00123-MJR-SCW Document 11 Filed 05/11/10 Page 6 of 21 Page ID #54




           WHEREFORE, the Defendant, DR. JOGENDRA CHHABRA, M.D., denies that

 Plaintiff is entitled to judgment against it in any sum whatsoever, and prays that this Honorable

 Court dismiss Plaintiff’s Complaint in its entirety with prejudice, plus costs of suit.

           DEFENDANT DEMANDS A TRIAL BY JURY.


                                             COUNT II
                                         (Medical Negligence)

           1.-6.   Plaintiff readopts and realleges the allegations of Paragraphs 1 through 6 of

 Count I as the allegations of Paragraphs 1 through 6 of Count II as though set forth fully

 herein.

 ANSWER:           This Defendant adopts and restates its answers to paragraphs 1 through 6 of Count
                   I as paragraphs 1 through 6 of Count II as fully set forth herein.


           7.      Plaintiff’s infection in the left elbow was undiagnosed and untreated while he

 remained under the care of DR. JOGENDRA.

 ANSWER:           Defendant denies the allegations in paragraph 7 of Count II of Plaintiff’s
                   Complaint.


           8.      On or about March 5, 2008, Plaintiff became a patient of the Defendant,

 MIKHAIL MAGDEL, M.D. for his left elbow, and was sent to Crossroads Hospital.

 ANSWER:           Defendant makes no response to the allegations contained in paragraph 8 of Count
                   II of Plaintiff’s Complaint for the reason that these allegations are not directed
                   against him. To the extent that any said allegation is directed against this
                   Defendant, each and every allegation is denied.




                                                   6
Case 3:10-cv-00123-MJR-SCW Document 11 Filed 05/11/10 Page 7 of 21 Page ID #55




         9.    On March 5, 2008 at Crossroads Hospital, serious infection in the left elbow

 was diagnosed, drainage was done, and they advised that the Plaintiff was to return in one

 week.

 ANSWER:       Defendant makes no response to the allegations contained in paragraph 9 of Count
               II of Plaintiff’s Complaint for the reason that these allegations are not directed
               against him. To the extent that any said allegation is directed against this
               Defendant, each and every allegation is denied.


         10.   The Defendant, MIKHAIL, MAGDEL, M.D. did not return Plaintiff to

 Crossroads Hospital in one week.

 ANSWER:       Defendant makes no response to the allegations contained in paragraph 10 of
               Count II of Plaintiff’s Complaint for the reason that these allegations are not
               directed against him. To the extent that any said allegation is directed against this
               Defendant, each and every allegation is denied.


         11.   On March 18, 2008 Plaintiff saw the Defendant, MIKHAIL MAGDEL, M.D.,

 and the Defendant noted that he still has pain, swelling, tenderness and discharge from the

 joint one week after drainage of the infection, and suspected osteomylitis.

 ANSWER:       Defendant makes no response to the allegations contained in paragraph 11 of
               Count II of Plaintiff’s Complaint for the reason that these allegations are not
               directed against him. To the extent that any said allegation is directed against this
               Defendant, each and every allegation is denied.



         12.   Plaintiff remained under the care of MIKHAIL MAGDEL, M.D. beyond

 April 21, 2008.

 ANSWER:       Defendant makes no response to the allegations contained in paragraph 12 of
               Count II of Plaintiff’s Complaint for the reason that these allegations are not
               directed against him. To the extent that any said allegation is directed against this
               Defendant, each and every allegation is denied.




                                                 7
Case 3:10-cv-00123-MJR-SCW Document 11 Filed 05/11/10 Page 8 of 21 Page ID #56




        13.    At all material times it was the duty of the Defendant, WEXFORD HEALTH

 SOURCES, INC., acting by their employee, MIKHAIL MAGDEL, M.D., to exercise the

 skill and care of a reasonably careful and competent physician in the care and treatment of

 Plaintiff.

 ANSWER:       Defendant makes no response to the allegations contained in paragraph 13 of
               Count II of Plaintiff’s Complaint for the reason that these allegations are not
               directed against him. To the extent that any said allegation is directed against this
               Defendant, each and every allegation is denied.


        14.    Notwithstanding      said   duty,       the   Defendant,   WEXFORD        HEALTH

 SOURCES, INC., acting by their employee, MIKHAIL MAGDEL, M.D., did commit one

 or more of the following negligent acts and/or omissions:

               a.     Failed to return the Plaintiff to the hospital in one week;

               b.     Failed to refer promptly Plaintiff to an orthopedic
                      specialist for of the infection after he returned from
                      Crossroads Hospital;

               c.     Failed to send Plaintiff to an emergency room after he
                      returned from Crossroads Hospital.

 ANSWER:       Defendant makes no response to the allegations contained in paragraph 14 of
               Count II of Plaintiff’s Complaint, subparagraphs (a) through (e), inclusive, for the
               reason that these allegations are not directed against him. To the extent that any
               said allegation is directed against this Defendant, each and every allegation is
               denied.


        15.    Plaintiff did not receive the orthopedic consultation until April 8, 2008 and

 did not have surgery until April 21, 2008.

 ANSWER:       Defendant makes no response to the allegations contained in paragraph 15 of
               Count II of Plaintiff’s Complaint for the reason that these allegations are not
               directed against him. To the extent that any said allegation is directed against this
               Defendant, each and every allegation is denied.




                                                   8
Case 3:10-cv-00123-MJR-SCW Document 11 Filed 05/11/10 Page 9 of 21 Page ID #57




           16.     As a direct and proximate result of the Defendants’ negligent acts and/or

 omissions, the Plaintiff's infection continued for a prolonged period of time and worsened,

 resulting in serious injuries of a permanent nature.

 ANSWER:           Defendant makes no response to the allegations contained in paragraph 16 of
                   Count II of Plaintiff’s Complaint for the reason that these allegations are not
                   directed against him. To the extent that any said allegation is directed against this
                   Defendant, each and every allegation is denied.


           17.     As a direct and proximate result of the Defendants’ negligent acts and/or

 omissions, the Plaintiff was caused to and did suffer, and in the future will suffer, great

 pain in both body and mind; and was caused to suffer, and in the future will suffer, loss of

 a normal life and disability; and expended, and in the future will be compelled to expend,

 great sums of money endeavoring to be cured of his injuries.

 ANSWER:           Defendant makes no response to the allegations contained in paragraph 17 of
                   Count II of Plaintiff’s Complaint for the reason that these allegations are not
                   directed against him. To the extent that any said allegation is directed against this
                   Defendant, each and every allegation is denied.

           WHEREFORE, the Defendant, DR. JOGENDRA CHHABRA, M.D., denies that

 Plaintiff is entitled to judgment against it in any sum whatsoever, and prays that this Honorable

 Court dismiss Plaintiff’s Complaint in its entirety with prejudice, plus costs of suit.

           DEFENDANT DEMANDS A TRIAL BY JURY.


                                             COUNT III
                                    (42 U.S.C. §1983, Civil Rights)

           1.-6.   Plaintiff readopts and realleges the allegations of Paragraphs 1 through 6 of

 Count I as the allegations of Paragraphs 1 through 6 of Count III, as though set forth fully

 herein.

 ANSWER:           This Defendant adopts and restates its answers to paragraphs 1 through 6 of Count
                   I as paragraphs 1 through 6 of Count III as fully set forth herein.


                                                     9
Case 3:10-cv-00123-MJR-SCW Document 11 Filed 05/11/10 Page 10 of 21 Page ID #58




           7.    The Defendants are sued in their individual capacities in Count III.

  ANSWER:        This Defendant admits the allegations contained in paragraph 7 of Count III of
                 Plaintiff’s Complaint.


           8.    The infection in Plaintiff’s left elbow caused severe burning pain, which had

  been present and worsening for approximately two months, and he requested to be seen at

  sick call.

  ANSWER:        Defendant states that he does not have sufficient information at the present time
                 upon which to base a belief as the truth of the allegations contained in Paragraph
                 8 of Count III of Plaintiff’s Complaint at Law and neither admits nor denies same,
                 but demands strict proof thereof.


           9.    Plaintiff was scheduled to be seen at sick call on December 12, 2007, but MD

  sick call was cancelled because the Defendant, CHHABRA JOGENDRA M.D. was not

  available.

  ANSWER:        Defendant states that he does not have sufficient information at the present time
                 upon which to base a belief as the truth of the allegations contained in Paragraph
                 9 of Count III of Plaintiff’s Complaint at Law and neither admits nor denies same,
                 but demands strict proof thereof.


           10.   December 14, 2007 the Plaintiff was seen by the Defendant, CHHABRA

  JOGENDRA, M.D., with a history of burning pain in the left elbow at the site of an

  injection while he was at Cook County Jail, and complaints of swelling and pain in the

  elbow.

  ANSWER:        Defendant states that he does not have sufficient information at the present time
                 upon which to base a belief as the truth of the allegations contained in Paragraph
                 10 of Count III of Plaintiff’s Complaint at Law and neither admits nor denies
                 same, but demands strict proof thereof.




                                                 10
Case 3:10-cv-00123-MJR-SCW Document 11 Filed 05/11/10 Page 11 of 21 Page ID #59




         11.    Although the Defendant had the Plaintiff’s medical chart which included

  notes of burning pain in the left elbow in September, 2007, knew of the Plaintiff’s

  complaints of swelling and pain the left elbow for 2 months, knew of the history of prior

  surgical repair of the left elbow, and knew of the risk of serious infection in the left elbow

  and the risk to the Plaintiff’s health which presented an emergency condition, the

  Defendant ignored the Plaintiff’s complaints and the risk to his health, rendered no

  treatment, did not prescribe any medication for pain, and ordered no follow up visit.

  ANSWER:       Defendant denies the allegations in paragraph 11 of Count III of Plaintiff’s
                Complaint.


         12.    On December 28, 2007 Plaintiff was seen by a nurse who noted sharp,

  burning pain in the left elbow and some sores on the left elbow.

  ANSWER:       Defendant states that he does not have sufficient information at the present time
                upon which to base a belief as the truth of the allegations contained in Paragraph
                12 of Count III of Plaintiff’s Complaint at Law and neither admits nor denies
                same, but demands strict proof thereof.


         13.    Although the Plaintiff’s pain and swelling persisted, and he made requests to

  be seen by the doctor, the Defendant, CHHABRA JOGENDRA, M.D. did not see the

  Plaintiff.

  ANSWER:       Defendant denies the allegations in paragraph 13 of Count III of Plaintiff’s
                Complaint.




                                                11
Case 3:10-cv-00123-MJR-SCW Document 11 Filed 05/11/10 Page 12 of 21 Page ID #60




          14.   Finally, on March 5, 2008 the Plaintiff was seen by the and again complained

  of burning pain and swelling in the left elbow, and the nurse noted very poor range of

  motion, elbow red in color and referred him to MD sick call.

  ANSWER:       Defendant states that he does not have sufficient information at the present time
                upon which to base a belief as the truth of the allegations contained in Paragraph
                14 of Count III of Plaintiff’s Complaint at Law and neither admits nor denies
                same, but demands strict proof thereof.


          15.   Plaintiff appeared to see the Defendant, MIKHAIL MAGDEL, M.D. on

  March 5, 2008 at MD sick call, for his left elbow, and was sent to Crossroads Hospital.

  ANSWER:       Defendant makes no response to the allegations contained in paragraph 15 of
                Count III of Plaintiff’s Complaint for the reason that these allegations are not
                directed against him. To the extent that any said allegation is directed against this
                Defendant, each and every allegation is denied.


          16.   On March 5, 2008 at Crossroads Hospital, serious infection in the left elbow

  was diagnosed, drainage was done, and they advised that Plaintiff was to return in o n e

  week.

  ANSWER:       Defendant states that he does not have sufficient information at the present time
                upon which to base a belief as the truth of the allegations contained in Paragraph
                16 of Count III of Plaintiff’s Complaint at Law and neither admits nor denies
                same, but demands strict proof thereof.


          17.   On March 6, 2008 the Plaintiff was seen by a nurse who noted “I can't take

  this pain”, swelling present in the left elbow, pain 9 on a score of 10.

  ANSWER:       Defendant states that he does not have sufficient information at the present time
                upon which to base a belief as the truth of the allegations contained in Paragraph
                17 of Count III of Plaintiff’s Complaint at Law and neither admits nor denies
                same, but demands strict proof thereof.




                                                 12
Case 3:10-cv-00123-MJR-SCW Document 11 Filed 05/11/10 Page 13 of 21 Page ID #61




        18.    Dr. Obassi at Crossroads Hospital was phoned and gave orders for antibiotic

  treatment, and pain medication.

  ANSWER:      Defendant states that he does not have sufficient information at the present time
               upon which to base a belief as the truth of the allegations contained in Paragraph
               18 of Count III of Plaintiff’s Complaint at Law and neither admits nor denies
               same, but demands strict proof thereof.


        19.    On March 7, 2008 the Plaintiff saw a doctor at the Health Care Unit, and

  again complained of the intense, constant pain with increased swelling, and the doctor

  noted redness and tenderness of the left elbow with purulent drainage from the wound.

  ANSWER:      Defendant states that he does not have sufficient information at the present time
               upon which to base a belief as the truth of the allegations contained in Paragraph
               19 of Count III of Plaintiff’s Complaint at Law and neither admits nor denies
               same, but demands strict proof thereof.


        20.    On March 8, 2008 at 3:00 a.m. the Plaintiff again went to the health care unit

  and complained that he had an emergency with immense pain in the left elbow, and the

  nurse noted redness of the arm, warmth and swelling above and below the elbow.

  ANSWER:      Defendant states that he does not have sufficient information at the present time
               upon which to base a belief as the truth of the allegations contained in Paragraph
               20 of Count III of Plaintiff’s Complaint at Law and neither admits nor denies
               same, but demands strict proof thereof.


        21.    On the evening of March 8, 2008 Plaintiff again went to health care unit

  complaining of his left elbow and his emergency need.

  ANSWER:      Defendant states that he does not have sufficient information at the present time
               upon which to base a belief as the truth of the allegations contained in Paragraph
               21 of Count III of Plaintiff’s Complaint at Law and neither admits nor denies
               same, but demands strict proof thereof.




                                               13
Case 3:10-cv-00123-MJR-SCW Document 11 Filed 05/11/10 Page 14 of 21 Page ID #62




         22.    On March 18, 2008 Plaintiff saw the Defendant, MIKHAIL MAGDEL, M.D.,

  and complained again of the infection and pain in the left elbow, and the Defendant noted

  that he still has pain, swelling, tenderness and discharge from the joint one week after

  drainage of the infection, and suspected osteomylitis.

  ANSWER:       Defendant makes no response to the allegations contained in paragraph 22 of
                Count III of Plaintiff’s Complaint for the reason that these allegations are not
                directed against him. To the extent that any said allegation is directed against this
                Defendant, each and every allegation is denied.


         23.    On March 18, 2008 the Defendant, MIKHAIL MAGDEL, M.D., knew that

  the Plaintiff was to return to Crossroads Hospital one week after drainage of the elbow

  infection, knew that the Plaintiff continued to have intense pain, swelling, tenderness and

  infection of the left elbow which presented an emergency condition, knew that the infection

  presented a serious risk to the Plaintiff's health, but ignored the risk and did not send him

  back to Crossroads Hospital and did not request an emergency orthopedic consultation

  ANSWER:       This Defendant denies the allegations contained in paragraph 23 of Count III of
                Plaintiff’s Complaint and each and every one of them.


         24.    On March 18, 2008 a different physician, Dr. Jill Wahl, completed a referral

  form for Plaintiff to see a specialist on March 24, 2008.

  ANSWER:       Defendant states that he does not have sufficient information at the present time
                upon which to base a belief as the truth of the allegations contained in Paragraph
                24 of Count III of Plaintiff’s Complaint at Law and neither admits nor denies
                same, but demands strict proof thereof.


         25.    Plaintiff was not seen by a specialist on March 24, 2008.

  ANSWER:       Defendant states that he does not have sufficient information at the present time
                upon which to base a belief as the truth of the allegations contained in Paragraph
                25 of Count III of Plaintiff’s Complaint at Law and neither admits nor denies
                same, but demands strict proof thereof.



                                                 14
Case 3:10-cv-00123-MJR-SCW Document 11 Filed 05/11/10 Page 15 of 21 Page ID #63




        26.    On March 25, 2008 Plaintiff was again seen by the Defendant, MIKHAIL

  MAGDEL, M.D. for follow up regarding his left elbow and requested care by a specialist.

  ANSWER:      Defendant makes no response to the allegations contained in paragraph 26 of
               Count III of Plaintiff’s Complaint for the reason that these allegations are not
               directed against him. To the extent that any said allegation is directed against this
               Defendant, each and every allegation is denied.


        27.    Although the Defendant, MIKHAIL MAGDEL, M.D., knew that the Plaintiff

  was to return to Crossroads Hospital on or about March 12, 2008 and had not been returned

  there, and knew that a consultation with the specialist had been requested for March 24,

  2008 and had not been done, knew that the infection in the left elbow had continued for

  three months and presented a serious risk to the Plaintiff’s health and was an emergency

  condition, the Defendant did not send the Plaintiff to an emergency room or request an

  emergency orthopedic consultation.

  ANSWER:      Defendant makes no response to the allegations contained in paragraph 27 of
               Count III of Plaintiff’s Complaint for the reason that these allegations are not
               directed against him. To the extent that any said allegation is directed against this
               Defendant, each and every allegation is denied.


        28.    On April 2, 2008 Plaintiff was seen by a nurse who noted infection of left

  arm to the elbow.

  ANSWER:      Defendant states that he does not have sufficient information at the present time
               upon which to base a belief as the truth of the allegations contained in Paragraph
               28 of Count III of Plaintiff’s Complaint at Law and neither admits nor denies
               same, but demands strict proof thereof.




                                                15
Case 3:10-cv-00123-MJR-SCW Document 11 Filed 05/11/10 Page 16 of 21 Page ID #64




         29.    Although the Plaintiff’s infected- left elbow was an emergency condition

  which threatened his health, the Defendant, MICHAEL MAGDEL, M.D. never referred Mr.

  Mahdi to an emergency room and never requested an emergency orthopedic consultation.

  ANSWER:       Defendant makes no response to the allegations contained in paragraph 29 of
                Count III of Plaintiff’s Complaint for the reason that these allegations are not
                directed against him. To the extent that any said allegation is directed against this
                Defendant, each and every allegation is denied.


         30.    Finally, on April 5, 2008 an x-ray was ordered and taken of the left elbow by

  order of Dr. Wahl.

  ANSWER:       Defendant states that he does not have sufficient information at the present time
                upon which to base a belief as the truth of the allegations contained in Paragraph
                30 of Count III of Plaintiff’s Complaint at Law and neither admits nor denies
                same, but demands strict proof thereof.


         31.    Plaintiff did not receive the orthopedic consultation until April 8, 2008 and

  did not have surgery until April 21, 2008.

  ANSWER:       Defendant states that he does not have sufficient information at the present time
                upon which to base a belief as the truth of the allegations contained in Paragraph
                31 of Count III of Plaintiff’s Complaint at Law and neither admits nor denies
                same, but demands strict proof thereof.


         32.    As a result of the length of time the infection persisted in the left elbow as a

  result of the Defendants’ disregard for the urgent need for treatment, Plaintiff sustained

  serious and permanent injuries.

  ANSWER:       This Defendant denies the allegations contained in paragraph 32 of Count III of
                Plaintiff’s Complaint and each and every one of them.




                                                 16
Case 3:10-cv-00123-MJR-SCW Document 11 Filed 05/11/10 Page 17 of 21 Page ID #65




         33.       At all material times, it was the duty of the Defendants, CHHABRA

  JOGENDRA M.D. and MICHAEL MAGDEL, M.D. to provide necessary medical care to

  the Plaintiff.

  ANSWER:          Defendant denies that Paragraph 33 correctly sets forth the duty that Defendant
                   owes to Plaintiff and denies that Defendant violated any duty owed to Plaintiff
                   and further denies the remaining allegations contained in said Paragraph 33 of
                   Count III of Plaintiff’s Complaint at Law.


         34.       Notwithstanding said duty, the Defendants did disregard the Plaintiff’s

  complaints, symptoms and emergency condition, and did refuse to send Plaintiff to an

  emergency room or obtain an emergency orthopedic consultation for diagnosis and

  necessary medical care to the Plaintiff until permanent damage was done.

  ANSWER:          This Defendant denies the allegations contained in paragraph 34 of Count III of
                   Plaintiff’s Complaint and each and every one of them.


         35.       The Defendants had the duty and the power to obtain the necessary medical

  care for the Plaintiff, and refused to do so with reckless disregard for the Plaintiff’s

  constitutional right to be free from cruel and unusual punishment under the Eight and

  Fourteenth Amendments to the U.S. Constitution, as well as for the safety and health of

  the Plaintiff.

  ANSWER:          Defendant denies that Paragraph 35 correctly sets forth the duty that Defendant
                   owes to Plaintiff and denies that Defendant violated any duty owed to Plaintiff
                   and further denies the remaining allegations contained in said Paragraph 35 of
                   Count III of Plaintiff’s Complaint at Law.


         36.       In refusing to provide necessary medical care to the Plaintiff the

  Defendants also violated 730 ILCS 5/3-7-2 (d).

  ANSWER:          This Defendant denies the allegations contained in paragraph 36 of Count III of
                   Plaintiff’s Complaint.



                                                  17
Case 3:10-cv-00123-MJR-SCW Document 11 Filed 05/11/10 Page 18 of 21 Page ID #66




         37.      In committing the wrongs complained of, the Defendants caused the

  Plaintiff to suffer intense pain for a prolonged period of time as well as permanent

  injuries, which inflicted cruel and unusual punishment upon him.

  ANSWER:         This Defendant denies the allegations contained in paragraph 37 of Count III of
                  Plaintiff’s Complaint and each and every one of them.


         38.      As a direct result of the Defendants’ refusal to provide necessary medical

  care, the Plaintiff was deprived of his constitutional right to be free from cruel and

  unusual punishment, and was denied prompt treatment for his infection which caused him

  to sustain permanent injuries.

  ANSWER:         This Defendant denies the allegations contained in paragraph 38 of Count III of
                  Plaintiff’s Complaint and each and every one of them.


         39.      As a direct result of the wrongful conduct of the Defendants, the Plaintiff

  was caused to and did suffer, and in the future will suffer, great pain in both body and

  mind, permanent disability and loss of a normal life, and in the future will be compelled

  to expend great sums of money for medical care and services endeavoring to be cured of

  his injuries.

  ANSWER:         This Defendant denies the allegations contained in paragraph 39 of Count III of
                  Plaintiff’s Complaint and each and every one of them.

         WHEREFORE, the Defendant, DR. JOGENDRA CHHABRA, M.D., denies that Plaintiff

  is entitled to judgment against it in any sum whatsoever, and prays that this Honorable Court

  dismiss Plaintiff’s Complaint in its entirety with prejudice, plus costs of suit.

         DEFENDANT DEMANDS A TRIAL BY JURY.




                                                    18
Case 3:10-cv-00123-MJR-SCW Document 11 Filed 05/11/10 Page 19 of 21 Page ID #67




                                     AFFIRMATIVE DEFENSES

          NOW COMES the Defendant, DR. JOGENDRA CHHABRA, M.D., and for his

  Affirmative Defenses to each and every Count of Plaintiff’s Complaint states:

          1)      Plaintiff has failed to allege facts sufficient to state a claim against DR.

  JOGENDRA CHHABRA, M.D. upon which relief can be granted.

          2)      Plaintiff was provided care and treatment to a reasonable degree of medical

  certainty and, therefore, any recovery by Plaintiffs against DR. JOGENDRA CHHABRA, M.D.

  is barred.

          3)      There was a sole, intervening, or superseding cause of Plaintiff’s alleged injuries

  and, therefore, any recovery by Plaintiff against DR. JOGENDRA CHHABRA, M.D. is barred.

          4)      The negligence, fault, or carelessness of Plaintiff caused or contributed to

  Plaintiff’s alleged injuries and, therefore, any recovery by Plaintiff against DR. JOGENDRA

  CHHABRA, M.D. is barred or diminished in proportion to the amount of negligence, fault, or

  carelessness attributable to Plaintiff.

          5)      The negligence, fault, or carelessness of other parties, persons or entities over

  which DR. JOGENDRA CHHABRA, M.D. had no control, caused or contributed to Plaintiff’s

  alleged injuries and, therefore, any recovery by Plaintiff against DR. JOGENDRA CHHABRA,

  M.D. is barred or diminished in proportion to the amount of negligence, fault, or carelessness

  attributable to such persons or entities.

          6)      DR. JOGENDRA CHHABRA, M.D. reserves the right to assert any additional

  defenses as may become available through investigation and discovery and to adopt and assert

  any defenses raised or asserted by any other defendant, if any, to this action.




                                                   19
Case 3:10-cv-00123-MJR-SCW Document 11 Filed 05/11/10 Page 20 of 21 Page ID #68




         WHEREFORE, Defendant, DR. JOGENDRA CHHABRA, M.D., denies Plaintiff is

  entitled to judgment in any sum whatsoever and prays that this Court dismiss Plaintiff’s

  Complaint with prejudice and without costs.

         DEFENDANT DEMANDS TRIAL BY JURY.


                                                Respectfully submitted,

                                                SANCHEZ DANIELS & HOFFMAN LLP


                                                By: /s/Timothy V. Hoffman
                                                   Attorneys for Defendant
                                                   DR. JOGENDRA CHHABRA, M.D.


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                                                  20
Case 3:10-cv-00123-MJR-SCW Document 11 Filed 05/11/10 Page 21 of 21 Page ID #69




                                 CERTIFICATE OF SERVICE

         I hereby certify that on May 11, 2010, I electronically filed the foregoing with the Clerk
  of the Court using the CM/ECF System which will send notification of such filing to the
  following:

         Ms. Barbara J. Clinite
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                                                             /s/Timothy V. Hoffman




                                                 21
